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MITCHELL D. GLINER, ESQ.
Nevada Bar #003419

3017 West Charleston Blvd., #95
Las Vegas, NV 89102

(702) 870-8700

(702) 870-0034 Fax

Attorney for Plaintift`
UNITED STATES DISTRICT COURT
DIS'I`RICT OF NEVADA
FREIDA LAUB, )
)
Plaintiff, )
) No.
vs. )
)
WAKEFIELD & ASSOCIATES, lNC., )
a foreign corporation, )
)
Defendant. )

) JURY DEMANDED

 

COMPLAINT
IURISDICTION

l. The jurisdiction of this Court attains pursuant to the FDCPA, 15 U.S.C. § 1692k(d),
28 U.S.C. § 1331, 28 U.S.C. § 1332. and the doctrine of supplemental jurisdiction Venue lies in
the Southern Division of the Judicial Distn'ct ofNevada as Plaintift`s claims arose from acts of the
Defendant(s) perpetrated therein.

PRELIM[NARY STATEMENT

2. rl`his action is instituted in accordance with and to remedy Defendant's violations of
the Federal Fair Debt Collection Practices Act, 15 U.S.C § 1692 et seq. (hereinafter "FDCPA"), and
of related state law obligations brought as supplemental claims hereto.

3. In 2009_ Defendant initiated a campaign of abusive unfair. unreasonable, and
unlawful debt collection activity directed against Plaintiff.

4. As a result of these and other violations of law. Plaintiff seeks hereby to recover

actual and statutory damages together with reasonable attorney's fees and costs.

 

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PARTIES

5. Plaintiff, Freida Laub, is a natural person who resides in Las Vegas, Nevada, and is
a "consurner" as defined by 15 U.S.C. Section 1692a(3) and allegedly owes a "debt" as defined by
15 U.S.C. Section 1692a(5).

6. Defendant, Wakefield & Associates. Inc. is a foreign corporation, the principal
purpose of whose business is the collection of debts, operating a debt collection agency from its
principal place of business in Aurora, Colorado. and regularly collects or attempts to collect debts
owed or due or asserted to be owed or due another. and is a "debt collector" as defined by 15 U.S.C.
Section l692a(6).

FACTUAL ALLEGATIONS
7. Plaintiff(s) repeat. reallege and assert all factual allegations contained in the

preliminary statement to this Complaint and reassert them as incorporated in full herein.

8. Plaintiff suffers from Degenerative Multiple Sclerosis.
9. This disease has severely impacted Plaintiff`s life.
10. Plaintiff can only work on a limited basis and consequently earns a limited income.

11. The alleged $967.00 debt underlying this action relates to l’laiittift`s daughter`s
surgery.

12. Plaintiff"s daughter is 22.

13. Defendant has made several harassing phone calls to both Plaintit`f and her daughter.

14. Plaintiff has serially asked Defendant not to call.
15. During one call made during approximately early June 2009, Defendant`s
representative threatened Plaintiff with legal action in violation of FDCPA §§ 1692e and 1692€(5).

16. Defendant also threatened to “attach” Plaintifl"s wages in violation of FDCPA §§
1692e and 1692e(5).

17. On June 8, 2009. Plaintiff wrote Defendant advising of her refusal 10 pay (Exhibit

l).

 

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18. PlaintifF s written refusal to pay required Defendant to cease and desist all collection
communications in accordance with FDCPA § 1692c(c):
(c) Ceasing communication - lfa consumer noll/ies a debt collector
in writing lhch the consumer refuses to gay a debt or that the
consumer wishes the debt collector to cease further communication
with the consumer, the debt collector shall not communicate further
with the consumer with respect to such debt.
19. Defendant received Exhibit l on June 10, 2009 (Exhibit 2).
20. Notwithstanding. Defendant dunned Plaintiff on June l l. 2009 (Exhibit 3).
21. Exhibit 3 was sent in violation ofPDCPA §l692c(c).
22. Defendant's continued phone contacts to Plaintiff. at times and at a place known to
be inconvenient to Plaintiff, were made in violation of FDCPA § l692c(a)(1). Fox v. Citico@ Credit
Services. lnc., 15 F.3d 1507, 1516, fn. 10 (9th Cir. 1994), Austin v. Great Lakes Collection Bureau

 

ln_c., 834 F. Supp. 557, 559 (D. Conn. 1993).

23. Defendant`s calls exacerbated the symptoms of Plaintifi"s disease.

24. The foregoing acts and omissions of Defendant were undertaken by it willfully.
maliciously, and intentionally knowingly, and/or in gross or reckless disregard of the rights of
Plaintiff.

25. Indeed, the foregoing acts and omissions of Defendant were undertaken by it
indiscriminately and persistently. as part of its regular and routine debt collection efforts, and without
regard to or consideration of the identity or rights of Plaintiff.

26. As a proximate result of the foregoing acts and omissions of Defendant, Plaintiff has
suffered actual damages and injury, including, but not limited tot stress, humiliation, mental anguish
and suffering, and emotional distress for which Plaintiff should be compensated in an amount to be

proven at trial.

 

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27. As a result of the foregoing acts and omissions of Defendant and in order to punish
Defendant for its outrageous and malicious conduct. as well as to deter it from committing similar
acts in the future as part of its debt collection efforts, Plaintiff is entitled to recover punitive damages

in an amount to be proven at trial.
CAUSES OF ACTION
COUNT l
28. The foregoing acts and omissions of Defendant constitute violations of the FDCPA,
including but not limited to, Sections l692c. l692d and 1692e.
29. Plaintiff is entitled to recover statutory damages, actual damages reasonable
attorney's fees. and costs.
COUNT 11
30. The foregoing acts and omissions constitute unreasonable debt collection practices
in violation of the doctrine of Invasion of Privacy. Kuhn v. Accozmt Control Technology, lnc., 865
F. Supp. 1443, 1448-49, 1453 (D. Nev. 1994),' Pl`/lmcm v. J. J. Mac l)ity)‘e Co. of Nevada, lnc., 969
F. Supp. 609, 613-14 (D. ofNev. 1997).
31. Plaintiff is entitled to recover actual damages as well as punitive damages in an
amount to be proven at trial.
JURY DEl\/IANDED
Plaintiff hereby demands trial by ajury on all issues so triable.
WHEREFORE, Plaintiff` prays that this Honorable Court grant the following relief:
1. Award actual damages
2. Award punitive damages

Award statutory damages of 81,000 pursuant to 15 U.S.C. § 1692k.

U)

4. Award reasonable attorney fees.

Award costs.

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6. Grant such other and further relief as it deems just and proper.

Respectfully submitted,

/s/ Mitchell D. Gliner_ Esq.

 

Ml'fCHELL D. GLTNER, ESQ.
Nevada Bar #003419

3017 West Charleston Boulevard
Suite 95

Las Vegas. NV 89102

Attorney for Plaintiff

 

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To insure proper credit to your account please make your check payable to Wakefteld & Associntcs. lnc. and indicate your
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Pleasc tell us about your medical insurance or make payment arrangements by visiting our secure website

www.wakmssoc.eom ~ Cl\eck or Credit Card

Your LOGON PIN for tltc websitc is : 84398

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